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                                Matthew I. Knepper, Esq.
                        1       Nevada Bar No. 12796
                        2       Miles N. Clark, Esq.
                                Nevada Bar No. 13848
                        3       Shaina R. Plaksin, Esq.
                                Nevada Bar No. 13935
                        4       KNEPPER & CLARK LLC
                                5510 So. Fort Apache Rd, Suite 30
                        5       Las Vegas, NV 89148
                        6       Phone: (702) 856-7430
                                Fax: (702) 447-8048
                        7       Email: matthew.knepper@knepperclark.com
                                Email: miles.clark@knepperclark.com
                        8       Email: shaina.plaksin@knepperclark.com
                        9
                                David H. Krieger, Esq.
                      10        Nevada Bar No. 9086
                                Shawn W. Miller, Esq.
                      11        Nevada Bar No. 7825
                                KRIEGER LAW GROUP, LLC
                      12        2850 W. Horizon Ridge Parkway, Suite 200
                                Henderson, NV 89052
                      13
                                Phone: (702) 848-3855, Ext. 101
                      14        Email: dkrieger@kriegerlawgroup.com
                                Email: smiller@kriegerlawgroup.com
                      15
                                Attorneys for Plaintiff
                      16
                                                                 UNITED STATES DISTRICT COURT
                      17
                                                                     DISTRICT OF NEVADA
                      18

                      19        KENT EGBERT,                                    Case No. 2:19-cv-01324-JAD-EJY

                      20                            Plaintiff,                  STIPULATION OF DISMISSAL OF
                                                                                EQUIFAX INFORMATION SERVICES,
                      21                v.                                      LLC WITH PREJUDICE

                      22        EQUIFAX INFORMATION SERVICES                    Complaint filed: July 31, 2019
                                LLC; and CENLAR FEDERAL SAVINGS
                      23        BANK,

                      24                            Defendants.                           ECF No. 43

                      25

                      26                PLEASE TAKE NOTICE that pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii),
                      27        the parties have stipulated to the dismissal of Defendant Equifax Information Services LLC, from
                      28
   KNEPPER & CLARK LLC
     ATTORNEYS AT LAW
5510 S Fort Apache Rd, Ste 30
    Las Vegas, NV 89148
       (702) 856-7430
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                                the above captioned action, with prejudice. Each party will bear its own fees and costs.
                         1

                         2             IT IS SO STIPULATED.
                                       Dated May 13, 2020.
                         3
                                 KNEPPER & CLARK LLC                              CLARK HILL PLLC
                         4
                                 /s/ Shaina R. Plaksin                            /s/ Jeremy J. Thompson
                         5       Matthew I. Knepper, Esq., SBN 12796              Jeremy J. Thompson, Esq., SBN 12503
                                 Miles N. Clark, Esq., SBN 13848                  3800 Howard Hughes Parkway, Suite 500
                         6
                                 Shaina R. Plaksin, Esq., SBN 13935               Las Vegas, NV 89169
                         7       5510 So. Fort Apache Rd, Suite 30                Email: jthompson@clarkhill.com
                                 Las Vegas, NV 89148
                         8       Email: matthew.knepper@knepperclark.com          Counsel for Defendant
                                 Email: miles.clark@knepperclark.com              Equifax Information Services LLC
                         9       Email: shaina.plaksin@knepperclark.com
                      10
                                 KRIEGER LAW GROUP, LLC
                      11         David H. Krieger, Esq., SBN 9086
                                 2850 W Horizon Ridge Parkway, Suite 200
                      12         Henderson, NV 89052
                                 Email: dkrieger@kriegerlawgroup.com
                      13
                                 Counsel for Plaintiff
                      14

                      15         WOLFE & WYMAN LLP

                      16         /s/ Andrew A. Bao
                                 Andrew A. Bao, Esq., SBN
                      17         6757 Spencer Street
                                 Las Vegas, NV 89119
                      18
                                 Email: aabao@wolfewyman.com
                      19
                                 Counsel for Defendant
                      20         Cenlar Federal Savings Bank
                      21

                      22                       ORDER GRANTING STIPULATION OF DISMISSAL
                                          OF EQUIFAX INFORMATION SERVICES LLC, WITH PREJUDICE
                      23        IT IS SO ORDERED.
                      24             Based on the parties' stipulation [ECF No. 43] and with good cause appearing, IT IS
                                                                             _________________________________________
                                HEREBY ORDERED that ALL CLAIMS AGAINST       UNITEDEquifax
                                                                                       STATES Information
                                                                                                 DISTRICTServices,
                                                                                                            COURTLLC     in this
                                                                                                                     JUDGE
                      25
                                action are DISMISSED with prejudice, each side to bear its own fees and costs.
                      26                                                     DATED this ____ day of _________ 2020.
                                                                                  _________________________________
                      27                                                          U.S. District Judge Jennifer A. Dorsey
                                                                                  Dated: May 15, 2020
                      28
                                                                              2 of 2
   KNEPPER & CLARK LLC
     ATTORNEYS AT LAW
5510 S Fort Apache Rd, Ste 30
    Las Vegas, NV 89148
       (702) 856-7430
